                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )      Case No. 1:10-CR-34
 vs.                                                 )
                                                     )
 STEVEN D. HICKEY                                    )      JUDGE COLLIER


                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on May 13, 2013, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Joey Byars and the
 Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the hearing
 included:

               (1) AUSA Chris Poole for the USA.
               (2) The defendant STEVEN D. HICKEY.
               (3) Attorney Tony Martinez for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and he qualified
 for the appointment of an attorney to represent him at government expense. Federal Defender
 Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
 determined the defendant had been provided with a copy of the Petition and the Warrant for
 Arrest and had the opportunity of reviewing those documents with his attorney. It was also
 determined the defendant was capable of being able to read and understand the copy of the
 aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing but requested a detention hearing.

        AUSA Poole called USPO Joey Byars as a witness and moved that the defendant be
 detained pending the revocation hearing.

                                             Findings

        (1) Based upon USPO Byars’ testimony and defendant’s waiver of preliminary
        hearing, the undersigned finds there is probable cause to believe defendant has

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Case 1:10-cr-00034-TRM-CHS          Document 494         Filed 05/13/13    Page 1 of 2     PageID
                                          #: 2322
       committed violations of his conditions of supervised release as alleged or set forth
       in the Petition.

       (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
       Rules of Criminal Procedure, that if released on bail he will not pose a danger to the
       community.


                                           Conclusions

       It is ORDERED:

       (1) The motion of AUSA Poole that the defendant be DETAINED WITHOUT
       BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
       GRANTED.

       (2) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Collier on Thursday, May 23, 2013, at 2:00 pm.

       ENTER.


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                                              UNITED STATES MAGISTRATE JUDGE




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Case 1:10-cr-00034-TRM-CHS          Document 494         Filed 05/13/13      Page 2 of 2        PageID
                                          #: 2323
